948 F.2d 1337
    292 U.S.App.D.C. 229
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.In re Roland Ralph WILBORN, Petitioner.
    No. 91-5228.
    United States Court of Appeals, District of Columbia Circuit.
    Nov. 22, 1991.Rehearing and Rehearing En BancDenied Feb. 18, 1992.
    
      Before HARRY T. EDWARDS, SILBERMAN and STEPHEN F. WILLIAMS, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of petitioner's notice of appeal construed as a petition for a writ of mandamus and the memorandum in support thereof, it is
    
    
      2
      ORDERED that the petition for a writ of mandamus be denied.   This court lacks jurisdiction to review the district court's transfer order because the record was physically transferred to the United States District Court for the District of Oregon before the appeal was filed.   See Starnes v. McGuire, 512 F.2d 918, 924 (D.C.Cir.1974) (en banc).
    
    